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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

NAU COUNTRY INSURANCE                            Case No. 1:23-cv-00127
COMPANY,
                                                 Hon. Janet T. Neff
       Plaintiff,                                U.S. District Court Judge

v.                                               Hon. Ray Kent
                                                 U.S. Magistrate Judge
FRANK M. WOOD, as the Director
of the National Appeals Division,
and ALT’S DAIRY FARM, LLC,

      Defendants.
_________________________________/

                                         ORDER

       Upon consideration of Defendant Frank M. Wood’s Motion to Stay, and the Court being

fully advised in the premises;

       IT IS HEREBY ORDERED that the summary judgment briefing schedule is stayed

pending the Court’s decision on Defendant Frank M. Wood’s anticipated motion to remand.




        October 27, 2023
Dated: ________________                    /s/ Janet T. Neff
                                          ________________________________
                                          JANET T. NEFF
                                          United States District Judge
